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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

SCOTT ANDREW WITZKE,

               Plaintiff,                                     Case No. 22-13070

vs.                                                           HON. MARK A. GOLDSMITH

MICHAEL J. BOUCHARD, et al.,

                        Defendants.
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                                           JUDGMENT

       Judgment is entered in accordance with the opinion and order entered on today’s date. The

case is closed except for consideration of Plaintiff’s motion for sanctions (Dkt. 44) and Plaintiff’s

motion to strike Defendants’ response (Dkt. 47).

       SO ORDERED.

                                                      KINIKIA ESSIX
                                                      CLERK OF THE COURT


                                              By:     s/Karri Sandusky
                                                      DEPUTY COURT CLERK

APPROVED:


s/Mark A. Goldsmith
MARK A. GOLDSMITH
UNITED STATES DISTRICT JUDGE


Dated: June 9, 2023




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